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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,


                 V.
                                                    Cr.   No.    09-10166-MLW

SALVATORE F.          DIMASI,
       Defendant.


                                 MEMORANDUM AND ORDER


WOLF, D.J.                                                               October 28, 2016

      The    court has        read the October 27,               2016    responses of   the

government and defendant Salvatore DiMasi to the October 17, 2016

Memorandum and Order concerning the October 13, 2016 Government's

Motion      to    Reduce      Terms    of    Imprisonment         to    Time   Served   (the

"Motion"),            which      was        filed     pursuant           to    18   U.S.C.

§3582 (c) (1) (A) (i) .         The court has also read the August 17,                  2016

Supervised Release Plan and August 9,                           2016    Federal Bureau of

Prisons ("BOP") Progress Report, which are attached hereto under

seal.^


      The attached Progress Report indicates, at page 4, that there

are now no medical restrictions on DiMasi's fitness                            for regular

duty in prison.          On page 14 it states that he is in "Medical Care

Level II         (Chronic care-stable)."            The court understands that the




1 The attached documents are sealed, at least temporarily, because
the court has not had time to decide whether any redactions are
justified.
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BOP provides four levels of medical care, with Level 4 being the

most intensive.      Reportedly,    "Level 2 prisoners are medically

stable, but may have chronic conditions under good control and can

manage independently with quarterly status reviews . . . ."                Alan

Ellis, BOP Designations Based on Medical Need, 23 Criminal Justice

Magazine      3,     Fall      2008,     at       60,          available     at

http;//www.americanbar.org/publications/criminal justice magazin

e home/crimjust cjmag 23 3 home.html.

     The parties' October 27, 2016 submissions indicate that the

Motion is    based on DiMasi's     serious    difficulties       in swallowing

food, which the parties represent is becoming worse.              The Progress

Report, however, suggests that DiMasi's condition is "stable" and

not now interfering with his ability to function in prison except

with regard to his ability to eat - which the court recognizes is

a serious problem.

     The parties report that DiMasi's request for a motion seeking

a reduction in his sentence was until recently repeatedly denied

at various    levels of the BOP.       They state that barium swallow

studies    conducted in June    2014   and August       2016    demonstrated a

deterioration of DiMasi's ability to swallow and that he is not

likely to improve with conventional treatment.           It would be helpful

if the government would clarify whether it was these studies that

prompted it to file the Motion and, in any event, to provide the

court with the records on which that decision was based.
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       As explained in the October 17, 2016 Memorandum and Order at

2, in deciding the Motion the court must consider the applicable

factors     set     forth        in    18    U.S.C.        §3553 (a) .      See    18     U.S.C.

§3582 (c) (1) (A) (i) .        Those factors include, but are not limited to,

"the   need   to       avoid    unwarranted        sentence      disparities"            and    the

related need to "promote respect for the law."                         18 U.S.C. §3553(a).

The government has not, however, addressed whether or not it is

its practice        to grant requests              for motions            for    reduction in

sentence on behalf of other elderly inmates with medical conditions

comparable to DiMasi's,                including others with Level 2 medical

designations.

       In addition,         the       government     argues      that,      "[tjhere       is    no

evidence, and no reason to believe, that [the BOP's] decision to

file    a   motion       for     compassionate        release        in    this     case        'was

influenced        by     DiMasi's        former       status      as      Speaker        of     the

Massachusetts House of Representatives or the stature of some of

those who may be advocating for his release.'"                            Docket No. 881 at

9 (quoting Oct. 17, 2016 Mem. and Order at 4).                                  This statement

suggests,     among other things,              that the Department of Justice,

including      but       not      limited     to      the     BOP,        did     not    receive

communications          concerning          DiMasi     from      one       or     more     public

officials.        It would be helpful to have this suggestion confirmed,

clarified,    or corrected.             As the court wrote in the October 17,

2016   Memorandum and Order at                4,     the    related       issues    of   whether
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DiMasi has been treated by the BOP more favorably than other older

inmates with comparable medical problems and whether any public

officials have supported his request for release are "important to

whether a    reduction of sentence would reasonably be viewed as a

form of unwarranted disparity based on power or privilege, which

would injure respect for the law, a relevant §3353(a) factor the

court is required to consider."

       In addition, DiMasi has not addressed the issue raised in the

October 17, 2016 Memorandum and Order, at 5 and fn. 2, concerning

"whether,    if the court allows the Motion,         the terms of DiMasi's

Supervised Release imposed in 2011 should be modified," possibly

by adding a condition requiring home detention.             See, e.g.. Fed.

R. Grim. P. 32.1(b), Advisory Committee Notes (1979)            ("conditions

should be subject to modifications, for the sentencing court must

be able to respond to changes in the [defendant's] circumstances").

       The court has given high priority to the Motion.                It has

quickly raised the foregoing questions in an effort to make the

November 1, 2016 hearing as valuable as possible, and to maximize

the possibility of a decision on the Motion that is both properly

informed and prompt.

       In view of the foregoing,       it is hereby ORDERED that:

       1.    The government shall, by October 31, 2016, at 1:00 p.m.:

file   the   medical   records   and   other   documents   on which   the   BOP

relied in reversing its earlier denial(s) of DiMasi's request(s)
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and filing the Motion; and address the other issues discussed in

t h i s Memorandum.


      2.    DiMasi shall, by October 31,         2016, at 1:00 p.m.: file

the medical records he represents reflect a recent deterioration

of his health and ability to function in prison; and address the

other issues discussed in this Memorandum.


      3.    Darrin Howard,     Esq.     shall attend the November 1,    2016

hearing and be prepared to address possible questions concerning

his October 27,       2016 affidavit.




                                             UNITED STATES DISTRICT JUDG:
